22-10760-dsj          Doc 251        Filed 07/21/22 Entered 07/21/22 15:54:43                      Main Document
                                                  Pg 1 of 4



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                               )
    In re:                                                     )   Chapter 11
                                                               )
    REVLON, INC., et al., 1                                    )   Case No. 22-10760 (DSJ)
                                                               )
                                                               )   (Jointly Administered)
                                       Debtors.                )
                                                               )   Re: Docket No. 155

          ORDER AUTHORIZING THE RETENTION AND EMPLOYMENT OF
        PETRILLO KLEIN & BOXER LLP AS ATTORNEYS FOR THE DEBTORS
       AND DEBTORS IN POSSESSION NUNC PRO TUNC TO THE PETITION DATE

             Upon the Debtors’ Application for an Order Authorizing the Retention and Employment of

Petrillo Klein & Boxer LLP as Attorneys for the Debtors and Debtors In Possession Nunc Pro

Tunc to the Petition Date (the “Retention Application”) 2 of the above-captioned debtors and

debtors in possession (collectively, the “Debtors”), for entry of an order pursuant to sections 327(e)

and 328(a) of title 11 of the United States Code (the “Bankruptcy Code”), rules 2014 and 2016 of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and rules 2014-1 and 2016-

1 of the Local Bankruptcy Rules for the Southern District of New York (the “Local Rules”)

authorizing the retention and employment of Petrillo Klein & Boxer LLP (“The Petrillo Firm” or

the “Firm”) as attorneys for the Debtors with respect to all Investigation Committee Matters in

these Chapter 11 Cases, effective nunc pro tunc to the Petition Date, all as more fully described in

the Retention Application; and the Court having reviewed the Retention Application, the


1
      The last four digits of Debtor Revlon, Inc.’s tax identification number are 2955. Due to the large number of
      debtor entities in these Chapter 11 Cases, for which the Court has granted joint administration, a complete list of
      the debtor entities and the last four digits of their federal tax identification numbers is not provided herein. A
      complete list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
      https://cases.ra.kroll.com/Revlon. The location of the Debtors’ service address for purposes of these Chapter 11
      Cases is: One New York Plaza, New York, NY 10004.
2
      Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Retention
      Application.
22-10760-dsj      Doc 251       Filed 07/21/22 Entered 07/21/22 15:54:43                Main Document
                                             Pg 2 of 4



declaration of Guy Petrillo (the “Petrillo Declaration”), and the declaration of D.J. Baker, the

Disinterested Director of Revlon, Inc. (the “Baker Declaration”); and this Court being satisfied,

based on the representations made in the Retention Application and the Petrillo Declaration, that

The Petrillo Firm represents no interest adverse to the Debtors’ estates with respect to the matters

upon which it is to be engaged; and it appearing that this Court has jurisdiction to consider the

Retention Application pursuant to 28 U.S.C. §§ 157 and 1334; and it appearing that venue of the

Chapter 11 Cases and the Retention Application in this district is proper pursuant to 28 U.S.C. §§

1408 and 1409; and it appearing that this matter is a core proceeding pursuant to 28 U.S.C.

§ 157(b); and it appearing that proper and adequate notice of the Retention Application has been

given and that no other or further notice is necessary; and a Certificate of No Objection having

been filed; and a hearing having been held to consider the relief requested in the Retention

Application; and upon the record of the hearing and all of the proceedings had before the Court;

and the Court having found and determined that the relief sought in the Retention Application is

in the best interests of the Debtors, their estates, their creditors and all other parties in interest; and

the legal and factual bases set forth in the Retention Application having established just cause for

the relief granted herein; and after due deliberation and sufficient cause appearing therefor, it is

hereby ORDERED that: [DSJ 7/21/22]

                The Retention Application is GRANTED to the extent provided herein.

                Pursuant to sections 327(e) and 328(a) of the Bankruptcy Code, Bankruptcy Rules

2014 and 2016, and Local Rules 2014-1 and 2016-1, the Debtors are authorized to employ and

retain The Petrillo Firm as their co-counsel with respect to all Investigation Committee Matters in

these Chapter 11 Cases nunc pro tunc to the Petition Date in accordance with the terms and
22-10760-dsj     Doc 251      Filed 07/21/22 Entered 07/21/22 15:54:43            Main Document
                                           Pg 3 of 4



conditions set forth in the engagement agreement effective as of June 15, 2022 (the “Engagement

Letter”) attached to the Retention Application as Exhibit D.

               The Petrillo Firm is authorized to render professional services to the Debtors at the

direction of the Investigation Committee in connection with the Investigation Committee Matters

as described in the Retention Application and the Engagement Letter.

               The Petrillo Firm shall apply for compensation of professional services and

reimbursement of expenses incurred in connection with the Chapter 11 Cases in compliance with

sections 330 and 331 of the Bankruptcy Code and the applicable provisions of the Bankruptcy

Rules, the Local Rules and any applicable orders of this Court.

               The Petrillo Firm may apply the advanced payment retainer to outstanding fees and

expenses relating to the period prior to the Petition Date. The Petrillo Firm shall apply any

remaining amounts of its prepetition retainers as a credit toward postpetition fees and expenses,

after such postpetition fees and expenses are approved pursuant to the first order of the Court

awarding fees and expenses to the Firm. The Petrillo Firm shall waive any outstanding fees and

expenses in excess of the fully applied advanced payment retainer relating to the period prior to

the Petition Date.

               The Petrillo Firm shall use its best efforts to avoid any duplication of services

provided by any of the Debtors’ other Chapter 11 Professionals in these Chapter 11 Cases.

               To the extent the Retention Application is inconsistent with this Order, the terms

of this Order shall govern.

               The Debtors and The Petrillo Firm are authorized to take all action necessary to

carry out this Order.
22-10760-dsj     Doc 251      Filed 07/21/22 Entered 07/21/22 15:54:43           Main Document
                                           Pg 4 of 4



               Notice of the Retention Application as provided therein shall be deemed good and

sufficient notice of the Retention Application, and the Local Bankruptcy Rules are satisfied by the

contents of the Retention Application.

               The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

               This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation, interpretation, and/or enforcement of this Order.


Dated: July 21, 2022
       New York, New York

                                      s/David S. Jones
                                      HONORABLE DAVID S. JONES
                                      UNITED STATES BANKRUPTCY JUDGE
